Exhibit A
2021/11/09 11:27        (20) ベギラマくんさんはTwitterを使っています 「そもそもH社トップの方は元いたフリー〇アウトでも社員を食いまくって…

                                              ツイート                                                     キーワード検索


                                               ベギラマくん
          ホーム                                  @cogitopp                                        関連性の高いアカ

                                                                                                          ベギラマくん
          話題を検索                        そもそもH社トップの方は元いたフリー〇アウトでも                                           @cogitopp
                                       社員を食いまくってた。Hでも変わらないらしい。                                            港区発で経営と
    20+
          通知                           遊ぶのは好きにすればいいが社員に生き続けるのはト                                           食いつないでる
                                       ップとして･･･                                                           飼いならされた
                                                                                                          しか言いません
          メッセージ                                                                                           えます→ peing
                                            MILK @mlnk901 · 9月10日
                                                                                                          開放してるので
                                         某ファンドに勤める友人からH社について聞かれたとき、事業としての可能性や                             に投げてええで
          ブックマーク                         実績以外の色んな部分に闇が潜んでいることを伝え、個人的にもリスクを感じ彼
                                         は関わらない決断をしたようだったが、その後しばらくしてからテキーラ事件発
                                                                                                          MILK
                                         生。結果的に良かったのではないかな。
                                                                                                          @mlnk901
          リスト
                                                                                                          三児の父なのに
                                       午前7:53 · 2021年9月10日 · Twitter Web App
                                                                                                          ャ界の陽キャ目
          プロフィール
                                       34 件のリツイート          19 件の引用ツイート         127 件のいいね
                                                                                                いまどうしてる？
          もっと見る
                                                                                                ニュース · 7 分前
                                                                                                木下富美子都議 9日都議
          ツイートする                                                                                へ 3度の召喚状
                                               返信をツイート                                     返信

                                                                                                #麒麟川島を笑わせて10
                                               MILK @mlnk901 · 9月10日                            写真で一言！川島さんを
                                               返信先: @cogitoppさん                                 分け！by LINEポケット
                                               えぇ、それはマジなのですか。。。                                    LINEポケットマネー/LIN
                                                                                                   ョン
                                                   1                               4
                                                                                                政治 · トレンド

                                               ベギラマくん @cogitopp · 9月10日                         平井卓也の弟
                                               F社の社員からもH社の社員からも聞いたことあります                        トレンドトピック: 香川1区
                                               特にF社時代は相当エグくて社員みんな知ってるのでは。
                                                                                                ニュース · トレンド
                                                   1                               8            半導体確保
                                                                                                トレンドトピック: 行動計画
                                               返信を表示
                                                                                                   【公式】マイナビ子育て
                                                                    返信をさらに表示
                                                                                                「我が子を可愛いと思え
                                                                                                優の北川弘美さんが産後
                                       その他のツイート                                                 白。「母親失格と言われ
                                                                                                んじゃないか」
                                               QLクライシス @QLifecrisises · 18時間
                                               公認会計士になるためにいっぱい頑張ったから僕に合格をください                   さらに表示


                                                                                                利用規約 プライバシーポ
                                                                                                Cookieのポリシー 広告情
                                                                                                © 2021 Twitter, Inc.




                                                   28               467           6,801


                                               このスレッドを表示


                                               じろ(26) @26ooo · 15時間
                                               関西スーパー対応やばすぎる。なんだこれ。。。
          urjnhp                               一読をスーパー推奨する。
          @urjnhp


https://twitter.com/cogitopp/status/1436100450172891159?s=20                                                           1/6
Exhibit B
2021/11/09 11:27         (20) ベギラマくんさんはTwitterを使っています 「@mlnk901 F社の社員からもH社の社員からも聞いたことあります 特にF…

                                               ツイート                                           キーワード検索


                                                ベギラマくん @cogitopp · 9月10日
          ホーム                                   そもそもH社トップの方は元いたフリー〇アウトでも社員を食いまくって
                                                た。Hでも変わらないらしい。
                                                遊ぶのは好きにすればいいが社員に生き続けるのはトップとして･･･
          話題を検索
                                                     MILK @mlnk901 · 9月10日
    20+
          通知                                     某ファンドに勤める友人からH社について聞かれたとき、事業としての
                                                 可能性や実績以外の色んな部分に闇が潜んでいることを伝え、個人的に
                                                 もリスクを感じ彼は関わらない決断をしたようだったが、その後しばら
          メッセージ                                  くしてからテキーラ事件発生。結果的に良かったのではないかな。

                                                    4              53          127
          ブックマーク
                                                MILK @mlnk901 · 9月10日
          リスト                                   えぇ、それはマジなのですか。。。

                                                    1                          4

          プロフィール
                                                ベギラマくん
                                                @cogitopp
          もっと見る
                                       返信先: @mlnk901さん


          ツイートする
                                       F社の社員からもH社の社員からも聞いたことあります
                                       特にF社時代は相当エグくて社員みんな知ってるので                           関連性の高いアカ
                                       は。
                                                                                                ベギラマくん
                                       午前8:33 · 2021年9月10日 · Twitter Web App                    @cogitopp
                                                                                                港区発で経営と
                                        8 件のいいね                                                 食いつないでる
                                                                                                飼いならされた
                                                                                                しか言いません
                                                                                                えます→ peing
                                                                                                開放してるので
                                                                                                に投げてええで
                                                返信をツイート                              返信
                                                                                                MILK
                                                                                                @mlnk901
                                                MILK @mlnk901 · 9月10日
                                                                                                三児の父なのに
                                                返信先: @cogitoppさん
                                                                                                ャ界の陽キャ目
                                                草食系に見せかけて、中身は狼だったのですね…

                                                                               6
                                                                                          いまどうしてる？

                                                                                          ニュース · 7 分前
                                                                                          木下富美子都議 9日都議
                                                                                          へ 3度の召喚状


                                                                                          #麒麟川島を笑わせて10
                                                                                          写真で一言！川島さんを
                                                                                          分け！by LINEポケット
                                                                                           LINEポケットマネー/LIN
                                                                                           ョン


                                                                                          政治 · トレンド
                                                                                          平井卓也の弟
                                                                                          トレンドトピック: 批判記事


                                                                                          日本のトレンド
                                                                                          どしゃ降り
                                                                                          1,984件のツイート


                                                                                           マネー現代 · 1 時間前
                                                                                          無印良品の社員が、上司
                                                                                          長」「課長」と呼ばない
                                                                                          理由」

          urjnhp
          @urjnhp                                                                         さらに表示


https://twitter.com/cogitopp/status/1436110462949617669                                                    1/2
Exhibit C
2021/11/09 11:26        (20) MILKさんはTwitterを使っています 「ベ◯ンキャピタル自体は超有能集団&amp;パフォーマンスもめちゃくちゃ出てる…

                                         ツイート                                             キーワード検索


                                          MILK
         ホーム                              @mlnk901


         話題を検索                    ベ◯ンキャピタル自体は超有能集団&パフォーマンス
                                  もめちゃくちゃ出てるイメージやけど、なぜリスクを
   20+
         通知                       承知の上でheyに入れてるのかよく分からんな。ワイの
                                  知人はとても優秀やし善悪の判断もつく常識人やけ
         メッセージ                    ど、そうではない人も中にはいるらしい。

         ブックマーク

         リスト

         プロフィール

         もっと見る


         ツイートする




                                                                                      関連性の高いアカウント

                                                                                            MILK
                                                                                                            フォロ
                                                                                            @mlnk901
                                                                                            三児の父なのにノージョブです。
                                                                                            ャ界の陽キャ目指してます。



                                                                                      いまどうしてる？

                                                                                      ニュース · 5 分前
                                                                                      木下富美子都議 9日都議会に出席
                                                                                      へ 3度の召喚状


                                  午後4:15 · 2021年9月26日 · Twitter for iPhone            #麒麟川島を笑わせて100万円山分け
                                                                                      写真で一言！川島さんを笑わせて100万円
                                                                                      分け！by LINEポケットマネー
                                   6 件のリツイート         42 件のいいね
                                                                                       LINEポケットマネー/LINEスコアによるプロモ
                                                                                       ョン


                                                                                      政治 · トレンド
                                                                                      立憲民主党の新代表
                                                                                      トレンドトピック: 森裕子氏
                                          返信をツイート                                返信

                                                                                      ニュース · トレンド
                                                                                      貧困の大人
                                          ベギラマくん @cogitopp · 9月26日
                                                                                      トレンドトピック: 子供の有無、SNS憤りの声
                                          返信先: @mlnk901さん
                                          まあGoogleがpringを買収するようにリアル決済領域はどんなに自社事業で      mi-mollet/ミモレ · 昨日
                                          しくってもMAもあり得るので選択は正しいかと。                     楽天は週4日出社へ...コロナ後の働
                                          まあ素行調査はムラの中にいないと難しいんでしょうが…
         urjnhp                                                                       き方が企業の明暗を分けるワケ
         @urjnhp                              1                              3

                                                                                      さらに表示
https://twitter.com/mlnk901/status/1442025131501449219?s=20                                                  1/6
Exhibit D
2021/11/09 11:24        (20) アサダアキラ㌠ （ビジパ専門家）｜令3年2月～12月「スタートアップのビジパ特集」さんはTwitterを使っています 「…

                                                                                                 キーワード検索


                                        川邊健太郎 @dennotai · 10月27日
         ホーム                            「新しい資本主義実現会議」にて私が総理に申し上げた意見はこちらで                  関連性の高いアカウント
                                        す。岸田さんはあまり「規制改革」を仰らないので、そこはしつこく申し
                                        上げてしまいました。他は日頃から私が大事に思っている事を述べまし                            アサダアキラ㌠ （ビ…
         話題を検索                                                                                                                フォロー
                                        た。民主主義とかスタートアップとか、デジタル化とか。ご批判等々遠慮                           @DJ_AsadaAkira
                                        なくお願い致します。                                                  ビジネスの役に立たないホットな話題
   20+                                  ツイート
         通知                                                                                         を発信しています/連絡はTelegramが
                                                                                                    100%安全確実です/
                                                                                                    djasadaakira@ctemplar.com/
         メッセージ                                                                                      Telegram:djasadaakira/ 質問箱
                                                                                                    peing.net/ja/dj_asadaaki… noteで過激
                                                                                                    な文章を書きます
         ブックマーク
                                                                                                    川邊健太郎
                                                                                                                              フォロー
         リスト                                                                                        @dennotai
                                                                                                    Zホールディングス(株)・ヤフー(株)代
                                                                                                    表取締役社長、ソフトバンク(株)取締
         プロフィール                                                                                     役、(株)ZOZO取締役、日本IT団体連盟
                                                                                                    会長。インターネットと自然が大好き
                                                                                                    です！趣味は釣り、狩猟、読書など。
         もっと見る                              15              291            1,457                    フォローを宜しくお願いします！


                                        アサダアキラ㌠ （ビジパ専門家）｜令3年2月～12月「スタートア…
         ツイートする                         @DJ_AsadaAkira                                    いまどうしてる？

                                 返信先: @dennotaiさん                                         ニュース · 3 分前
                                                                                          木下富美子都議 9日都議会に出席
                                 Zホールディングス 川邊健太郎様（@dennotai）                              へ 3度の召喚状


                                 起業家界隈の光本勇介氏、ならびにそれを支援する佐                                 #麒麟川島を笑わせて100万円山分け
                                                                                          写真で一言！川島さんを笑わせて100万円を山
                                 俣アンリ氏や佐藤裕介氏のような非エシカル脱法上等                                 分け！by LINEポケットマネー
                                 精神の起業文化は、起業界隈の業界内自浄化作用とし                                    LINEポケットマネー/LINEスコアによるプロモーシ
                                 てまっさきに批判すべきで、それから政治的発言をす                                    ョン

                                 べきと思いますがいかがでしょうか？                                        ニュース · トレンド
                                                                                          半導体確保
                                 午後10:31 · 2021年10月27日 · Twitter Web App
                                                                                          トレンドトピック: 行動計画


                                 1 件のリツイート        1 件のいいね                                 ニュース · トレンド
                                                                                          貧困の大人
                                                                                          トレンドトピック: SNS憤りの声、子供の有無


                                                                                             Business Insider Japan · 1 時間前
                                                                                          100均のダイソーが「脱」大量生
                                        返信をツイート                                    返信
                                                                                          産・消費へ
                                                                                             新ブランド｢Standard
                                                                                          Products｣が300円で作った世界観
                                                             返信をさらに表示

                                                                                          さらに表示
                                 その他のツイート
                                                                                          利用規約 プライバシーポリシー
                                        佐藤昭太 / non-standard world @shotasato_nsw · 16時間
                                                                                          Cookieのポリシー 広告情報 もっと見る
                                        #Shopify 純正ヘッドレスコマース構築フレームワーク「Hydrogen」、クロ
                                                                                          © 2021 Twitter, Inc.
                                        ーズドベータ期間が終了して開発者プレビュー開始。
                                        github.com/Shopify/hydrog…




                                            2                11             66


                                        このスレッドを表示


                                        マサ・サイトーくん @ganryu_battle · 17時間
                                        高級なフレンチとかラグジュアリーな経験も楽しいけど、ガストで苦手な
                                        もの交換し合いながら美味しいねと言ったり、その辺の公園の芝生でブル
                                        ーシート敷いてぼーっとまったり過ごしたりする、そんな時間が尊くなる
                                        人が一番いいんだな。
         urjnhp                             1                2             50
         @urjnhp

                                        みる兄さん        @milnii san · 14時間
https://twitter.com/dj_asadaakira/status/1453353635027423238?s=21                                                                       1/6
